    Case 9:24-cv-80456-WPD Document 1-6 Entered on FLSD Docket 04/12/2024 Page 1 of 2
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                           for the
                                                SOUTHERN DISTRICT OF FLORIDA
                                                    PALM BEACH DIVISION

                                                             )
SECURITY NATIONAL INS. CO.                                   )
                                                             )
                            Plaintiff(s)                     )
                                 v.                          )
                                                             )
                                                                     Civil Action No.
                                                             )
DANNY ORTIZ MORALES, an individual, and                      )
RONALD M. SHAVE, an individual,                              )
                              Defendant(s)                   )


                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

Ronald M. Shave
3571 D. Road
Loxahatchee, Florida 33470

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:

          Gary Khutorsky, Esquire
          Hinshaw & Culbertson LLP
          201 East Las Olas Blvd., Suite 1450
          Ft. Lauderdale, FL 33301
          Tel: 954-467-7900
          gkhutorsky@hinshawlaw.com
          scarlton@hinshawlaw.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                        CLERK OF COURT


Date:
                                                                                   Signature of Clerk or Deputy Clerk




                                                                                                          American LegalNet, Inc.
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Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)

              I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

              I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the individual’s last known address; or

              I served the summons on (name of individual)                                                                       , who is
          designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                            ; or

              I returned the summons unexecuted because                                                                                ; or

              Other (specify):




          My fees are $                           for travel and $                   for services, for a total of $ 0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                             Server’s signature



                                                                                        Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc:




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